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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

GAMAL AL-ZAHARNAH,

        Plaintiff,

v.                                                                     Case No: 8:15-cv-337-T-JSS

INNOVATIVE LOAN SERVICING
COMPANY,

      Defendant.
___________________________________/

                       ORDER ON MOTION TO COMPEL SITE
                 INSPECTION AND MOTION FOR PROTECTIVE ORDER

        THIS MATTER is before the Court on Plaintiff’s Motion to Compel Site Inspection (Dkt.

28) and Defendant’s Response in Opposition and Motion for Protective Order (Dkt. 34). Upon

consideration, the Motion to Compel Site Inspection is denied, and the Motion for Protective Order

is granted for the reasons stated below.

                                           BACKGROUND

        On February 17, 2015, Plaintiff, Gamal Al- Zaharnah, filed a Complaint against Defendant,

Innovate Loan Servicing Corp., alleging that Defendant used an automatic telephone dialing

system (“ATDS”) to call Plaintiff’s cell phone repeatedly, without Plaintiff’s consent and against

Plaintiff’s directives. (Dkt. 1.) As a result, Plaintiff alleges that Defendant violated the Telephone

Consumer Protection Act of 1991 (“TCPA”), 47 U.S.C. § 227, which prohibits any person from

making “any call (other than a call made for emergency purposes or made with the prior express

consent of the called party) using any automatic telephone dialing system or an artificial or

prerecorded voice . . . to any telephone number assigned to a . . . cellular telephone service.” 47

U.S.C. § 227(b)(1)(A)(iii).
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       On May 1, 2015, Plaintiff served Defendant with a Notice of Intent to Inspect Defendant’s

Property and Request for a Time and Date Certain to Facilitate the Inspection and Photographing

of Things and Real Property Related to Defendant’s Call Center (“Notice of Site Inspection”). The

Notice of Site Inspection requested that

       Defendant permit Plaintiff to enter Defendant’s Call Center and to inspect and to
       photograph, examine Defendant’s telephone system and any telephone related
       software used by Defendant in any way for the purpose of making phone calls to
       consumers, including the named Plaintiff in the 48 months preceding the institution
       of this action.

       In response to Plaintiff’s Notice of Inspection, Defendant objected to Plaintiff’s request as

overly broad, vague, and overly burdensome. After attempting to resolve this issue, Plaintiff filed

a Motion to Compel Site Inspection on September 1, 2015. (Dkt. 28.) In the motion, Plaintiff

contends that “the particularities of Defendant’s telephone system used in the making of the calls

is the primary, if not sole-source or element remaining in the dispute in the instant case.” As such,

Plaintiff claims that entry into Defendant’s call center for an inspection of the equipment used by

Defendant or its agents to make or assist in making calls to consumers is relevant and necessary to

establishing Plaintiff’s case and to challenging the veracity of Defendant’s defense that it did not

use an ATDS in violation of the TCPA. (Dkt. 7, 38.)

       On September 18, 2015, Defendant filed its Response in Opposition to Plaintiff’s Motion

to Compel Site Inspection and Motion for Protective Order (Dkt. 34), in which Defendant asserts

that the requested discovery is overly broad, vague, and unduly burdensome. Specifically,

Defendant contends that the request seeks private information related to third parties and seeks

information that can be obtained through other methods of discovery, and the request, if allowed,

would unnecessarily disrupt Defendant’s small business by forcing Defendant to shut down all




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calls while the inspection took place to protect the confidential and personal information of its

customers.

                                 APPLICABLE STANDARDS

       Parties may obtain discovery regarding any non-privileged matter that is relevant to any

party’s claim or defense. Fed. R. Civ. P. 26(b)(1). Specifically, Federal Rule of Civil Procedure

34 provides that a party may serve on any other party a request to permit entry onto designated

land or other property possessed or controlled by the responding party so that the requesting party

may inspect, measure, survey, photograph, test, or sample the property or any designated object or

operation on it. Fed. R. Civ. P. 34(a)(2). Nonetheless, the court must limit the extent of discovery

otherwise allowed if it determines that the discovery sought can be obtained from some other

source that is more convenient, less burdensome, or less expensive or if the court determines that

the burden or expense of proposed discovery outweighs its likely benefit, considering the needs of

the case, the amount in controversy, the parties’ resources, the importance of the issues at stake in

the action, and the importance of discovery in resolving the issues. Fed. R. Civ. P. 26(b)(2)(C).

       Further, the court may, for good cause shown, issue an order to protect a party or person

from annoyance, oppression, or undue burden or expense. Fed. R. Civ. P. 26(c)(1). Such an order

may forbid inquiry into certain matters or limit the scope of disclosure or discovery to certain

matters. Fed. R. Civ. P. 26(c)(1)(D). The party seeking a protective order bears the burden of

showing the necessity of the protective order, and this burden requires a “particular and specific

demonstration of fact as distinguished from stereotyped and conclusory statements.” Ekokotu v.

Fed. Express Corp., 408 F. App’x 331, 336 (11th Cir. 2011) (quoting United States v. Garrett, 571

F.2d 1323, 1326 n.3 (5th Cir. 1978)). When determining good cause, courts may balance the




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interests of the parties and consider the likelihood and severity of the perceived harm. In re

Alexander Grant & Co. Litig., 820 F.2d 352, 356 (11th Cir. 1987).

                                            ANALYSIS

       Plaintiff contends that a site inspection of Defendant’s call center to examine the equipment

used by Defendant in making calls to consumers is necessary for Plaintiff to meet his burden of

establishing that Defendant used an ATDS to call Plaintiff’s cell phone and to refute Defendant’s

defense that it did not use an ATDS. However, the Court finds that the burden of the requested

discovery outweighs its likely benefit. Specifically, Plaintiff is able to obtain the information he

seeks through other methods of discovery, such as requests for production, interrogatories, and

requests for admissions. Indeed, Plaintiff has served such requests on Defendant, and Defendant

indicates that it has produced documents and responses relevant to those requests, including

information regarding Defendant’s telephone software and hardware. Additionally, a deposition

of Defendant’s corporate representative is scheduled for October 22, 2015.

       The burden imposed on Defendant by Plaintiff’s request outweighs its benefit, as

Defendant would be required to close its operations and potentially disclose private, confidential

information relating to its other customers. Further, as stated above, this finding does not foreclose

Plaintiff from obtaining the information he seeks to prove and defend his case. Rather, Plaintiff is




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entitled to obtain such information by other means that are more convenient, less burdensome, and

less expensive than the site inspection of Defendant’s call center. Accordingly, it is

       ORDERED:

       1. Plaintiff’s Motion to Compel Site Inspection (Dkt. 28) is DENIED.

       2. Defendant’s Motion for Protective Order (Dkt. 34) is GRANTED.

       DONE and ORDERED in Tampa, Florida on October 7, 2015.




Copies furnished to:
Counsel of Record




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